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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION
                                                              ''       OV 2 S 2001
                                                            LUT k ER, ,u . ,
ROBERT CHRISTIAN WOLF,                                       ~y:vLu1'h~5
                                                                            Deputy Clark
             Plaintiff,                  CIVIL ACTION FILE
      VS .
                                         NO .   00-CIV-1187        (JEC)
JOHN $ENNETT RAMSEY &
PATRICIA PAUGH RAMSEY,

              Defendants



NOTICE OF FILING UNDER SEAL ORIGINAL DEPOSITION OF NON-PARTY
                    WITNESS STEVE THOMAS

      NOW COME Defendants John Bennett Ramsey and Patricia

Paugh Ramsey and hereby give notice of filing the original

transcript of the deposition of non-party witness Steve

Thomas for use in connection with Defendants' Opposition to

Motion for Protective Order of Non-Party Steve Thomas .

      The deposition is being filed under seal and designated

as   "CONFIDENTIAL" pursuant to the Stipulation and Protective

Order entered by the Court on May 25, 2001, and shall not be

opened except as ordered by the Court .
                                   Yti
      Respectfully submitted this 2-& day of November, 2001 .
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

ROBERT CHRISTIAN WOLF,

            Plaintiff             CIVIL ACTION FILE
     VS .
                                  N0 .   00-CIV-1187       (JEC)
JOHN BENNETT RAMSEY &
PATRICIA PAUGH F2AMSEY

            Defendants



            CERTIFICATE OF FONT AND MARGIN COMPLIANCE

     I hereby certify that NOTICE OF FILING UNDER SEAL

ORIGINAL DEPOSITION OF NON-PARTY WITNESS STEVE THOMAS

complies with the type-size and margin requirements set

forth in Local Rules S .1B and S .1C,     NDGa .    This paper was

printed using 12-point Courier New Font with a top margin of

no less than 1 .5 inches and side and bottom margins of no

less than 1 inch .
             31-
     This Z~ day of November, 2001 .



                                          L l- ~
                                         Eric P . Schroeder




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  Case 1:00-cv-01187-JEC    Document 48    Filed 11/28/01     Page 3 of 4




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

ROBERT CHRISTIAN WOLF,

             Plaintiff,            CIVIL ACTION FILE
     VS .
                                   NO .   00-CIV-1187       (JEC)
JOHN BENNETT FtAMSEY &
PATRICIA PAUGH RAMSEY,

             Defendants .



                       CERTIFICATE OF SERVICE

     This is to certify that I have this day served the

counsel below with a copy of the NOTICE OF FILING UNDER SEAL

ORIGINAL DEPOSITION OF NON-PARTY WITNESS STEVE THOMAS via

United States First Class Mail,        with adequate postage

affixed thereto,    addressed as follows :


Evan M . Altman                        Darnay Hoffman
5901-C Peachtree Dunwoody Rd           Law Office of Darnay Hoffman
Suite 495                              210 West 70th Street, Ste . 209
Atlanta, Georgia 30328                 New York, New York 10023

Sean R . Smith                         Charles P . Diamond
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              40                                0

   This Z2S_ day of November, 2001 .




                                       Eric P . Schroeder
